                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL LEE, et al.,

                       Plaintiffs                  CIVIL ACTION NO. 3:21-CV-1948

       v.                                               (MEHALCHICK, M.J.)

GOLF TRANSPORTATION, INC., et al.,

                       Defendants.



                                          ORDER

      After hearing from the parties on the conference call the following case management

deadlines are EXTENDED:

      1. Discovery. All discovery shall be completed by April 6, 2023.

      2. Expert Discovery.

            a. Defendants’ Rule 26(a)(2) disclosures shall be made by May 5, 2023.

      3. Dispositive Motions. All dispositive motions, together with supporting briefs,
         shall be filed by June 2, 2023.

      4. Jury Selection and Trial. Jury selection and trial will be scheduled for Monday,
         August 28, 2023 at 9:30 AM in Scranton, PA. A final pre-trial conference will be
         held on Tuesday, August 15, 2023 at 10:00 AM in Scranton. A final scheduling
         order will be issued at a later date.



Dated: March 9, 2023                             BY THE COURT:

                                                 /s/ Karoline Mehalchick
                                                 KAROLINE MEHALCHICK
                                                 United States Magistrate Judge
